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UNITED STATES COURT OF APPEALS F | L E D
FOR THE NINTH CIRCUIT SEP 25 2020
MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS
JENNY LISETTE FLORES, No. 20-55951
Plaintiff-Appellee, D.C. No.
2:85-cv-04544-DMG-AGR
V. Central District of California,

WILLIAM P. BARR, Attorney General; et
al.,

Defendants-A ppellants.

 

 

Los Angeles

ORDER

Before: W. FLETCHER, BERZON, and M. SMITH, Circuit Judges.

The court has received appellants’ renewed emergency motion for a

temporary administrative stay and a stay pending appeal. A temporary

administrative stay of the district court’s September 4, 2020 order, as modified by

its September 21, 2020 order, is granted through September 30, 2020.

Absent objection, the court adopts the parties’ agreed upon schedule as set

forth in appellants’ stay motion. The response to the emergency motion is due by

12:00 midnight Pacific Time on September 25, 2020. The optional reply in

support of the motion is due by 2:00 p.m. Pacific Time on September 28, 2020.

The briefing schedule established on September 16, 2020 remains in effect.
